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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                           Case No: 16-61404-Civ-COOKE/WHITE

 NORMAN E. ROBINSON,

        Plaintiff,

 vs.

 UNITED STATES OF AMERICA,

       Defendant.
 _____________________________/

              ORDER ADOPTING MAGISTRATE'S REPORT AND
       RECOMMENDATION AND DENYING CERTIFICATE OF APPEALABILITY
        THIS MATTER was referred to the Honorable Patrick A. White, United States
 Magistrate Judge, pursuant to 28 U.S.C. § 636(b)(1)(B) and Administrative Order 2003-19 of
 this Court, for a ruling on all pre-trial, non-dispositive matters and for a Report and
 Recommendation on any dispositive matters (ECF No. 3). On January 31, 2017, Judge White
 issued a Report of Magistrate Judge (“Report”) (ECF No. 23) recommending that Norman E.
 Robinson’s Motion for Relief (ECF No. 1) be denied as both an unauthorized successive 28
 U.S.C. § 2255 petition and as an inappropriate attempt to circumvent the bar to successive
 petitions by seeking relief pursuant to Federal Rule of Civil Procedure 60(b).
        Robinson did not file objections to the Report, and the time to do so has passed. I have
 considered Judge White’s Report, and have made a de novo review of the record. I find Judge
 White’s Report clear, cogent, and compelling.
        It is ORDERED and ADJUDGED that Judge White’s Report of Magistrate Judge
 (ECF No. 23) is AFFIRMED and ADOPTED. Accordingly, the Motion for Relief (ECF No.
 1) is DENIED. The Clerk is directed to CLOSE this case.
        It is FURTHER ORDERED and ADJUDGED that Petitioner has not demonstrated
 that “jurists of reason could disagree with the district court's resolution of his constitutional
 claims or that jurists could conclude the issues presented are adequate to deserve
 encouragement to proceed further.” Miller-El v. Cockrell, 537 U.S. 322, 326 (2003); accord Lott v.
 Attorney Gen., Fla., 594 F.3d 1296, 1301 (11th Cir. 2010) (explaining that a “petitioner need not
 show he will ultimately succeed on appeal” in order to warrant a certificate of appealability).
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 Accordingly, this Court DENIES a Certificate of Appealability in this case.
        DONE and ORDERED in chambers, at Miami, Florida, this 24th day of February
        2017.




 Copies furnished to:
 Patrick A. White, U.S. Magistrate Judge
 Counsel of record




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